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 6
      Attorneys for Plaintiff
 7    GURI GONZALEZ
 8
                                 UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10
11
      GURI GONZALEZ,                                     Case No.: 2:23-cv-10021 DSF (SSCx)
12
                   Plaintiff,
13                                                       NOTICE OF VOLUNTARY
            vs.                                          DISMISSAL OF DEFENDANT
14                                                       ECUENVIOS ECUAWORLD
                                                         EXPRESS LLC
15    ECUENVIOS ECUAWORLD EXPRESS
      LLC; and DOES 1 to 10,
16
                   Defendants.
17
18
19          PLEASE TAKE NOTICE that Plaintiff GURI GONZALEZ (“Plaintiff”)
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      pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
21
      Defendant ECUENVIOS ECUAWORLD EXPRESS LLC; BAITA 1 LLC (“Defendant”)
22
      with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which provides
23
      in relevant part:
24
            (a) Voluntary Dismissal.
25
                   (1)     Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                           and any applicable federal statute, the plaintiff may dismiss an action
27
                           without a court order by filing:
28


                                                     1
                          NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
     Case 2:23-cv-10021-DSF-SSC Document 14 Filed 12/19/23 Page 2 of 2 Page ID #:57




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3    Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for summary
 4    judgment. Accordingly, Defendant may be dismissed without an Order of the Court.
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 7
 8    DATED: December 19, 2023             SO. CAL. EQUAL ACCESS GROUP
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10                                         By:       /s/ Jason J. Kim
11                                               Jason J. Kim
12                                               Attorneys for Plaintiff
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                      NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
